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&lt;p&gt;&lt;font size="+1"&gt;&lt;strong&gt;&lt;center&gt;TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN&lt;/font&gt;&lt;/center&gt;
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&lt;center&gt;NO. 03-&lt;a name="1"&gt;00&lt;/a&gt;-00&lt;a name="2"&gt;488&lt;/a&gt;-CR&lt;/center&gt;
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&lt;center&gt;&lt;a name="3"&gt;Ex parte Daniel Aguilar&lt;/a&gt;&lt;/center&gt;
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&lt;center&gt;FROM THE DISTRICT COURT OF &lt;a name="4"&gt;CALDWELL&lt;/a&gt; COUNTY, &lt;a name="5"&gt;274TH&lt;/a&gt; JUDICIAL DISTRICT&lt;/center&gt;
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&lt;p&gt;&lt;strong&gt;&lt;center&gt;NO. &lt;a name="6"&gt;00-O-235&lt;/a&gt;, HONORABLE &lt;a name="7"&gt;CHARLES R. RAMSAY&lt;/a&gt;, JUDGE PRESIDING&lt;/center&gt;
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PER CURIAM&lt;/strong&gt;

&lt;p&gt;Daniel Aguilar applied for a writ of habeas corpus seeking a reduction of pretrial
bail.  The writ issued and the relief sought was denied.

&lt;p&gt;We have been advised by Aguilar's counsel that Aguilar has been tried and
convicted in the underlying cause.  The issue of pretrial bail is therefore moot.

&lt;p&gt;This appeal and all pending motions are dismissed.

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&lt;p&gt;Before Justices Jones, Kidd and Yeakel

&lt;p&gt;Dismissed as Moot

&lt;p&gt;Filed:   October 26, 2000

&lt;p&gt;Do Not Publish
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